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                                                         EXHIBIT D -1
                           SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY

                                (See Guidelines' C.8. for project category information,)
                                                                    HOURS            FEES            HOURS           SEES
                              PR{)1ECTCAT~ft3RY
                                                                  BE3QGETECII     BUp~ET~l3~         SIE.Lft?_      SQUGH~°
            Asset Analysis and Recovery
            Asset Disposition                                                                               i.00        $~,ozs.00

            Assumption and Rejection of Leases and Contracts             so.00        $zo,000.00           za.so       $2o,soz.00

            Avoidance Action Analysis
            Budgeting (Case)                                              s.00         $a,000.o0            6.90        $6,sos.5o


            Business Operations
            Case Administration                                          so.00        $25,000.00           79.90       $zz,s~z.so

            Claims Administration and Objections                         so.00        $25,000.00           2s.~o       $zo,564.50

            Corporate Governance and Board Matters
            Employee Benefits and Pensions                                                                  o.~o         $645.50


            Employment and Fee Applications                               ~o.00        $s,000.00            s.~o        $x,306.00

            Employment and Fee Application Objections
            Financing and Cash Collateral
            Litigation: Contested Matters and Adversary Proceedings (not otherwise within a specific project category) -
            identify each separately by caption and adversary number, or title of motion or application and docket number
 Delete     Bankruptcy Litigation                                        so.00        $45,000.00           50.20       $35,855.50


   Add:     Click Add button to add a litigation entry
            Meetings and Communications with Creditors
            Non-Working Travel
            Plan and Disclosure Statement                                  5.00        $s,000.00            a.zo        $3,990,00


            Real Estate
            Relief from Stay and Adequate Protection                      so.00       $20,000.00           25.10       $16,033.50


            Reporting
            Tax
            Valuation
            TOTAL                                                        250.00        $150,000.00         228.00      $134,903.00


 ~ If applicable



Case Name:           Quiksilver, Inc.
Case Number:         15-11880(BLS)
Applicant's Name:    Pachulski Stang Ziehl &Jones LLP
Date of Application: Q2/19/2016
Interim or Final:    Interim


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                                                          ~xHisiT o -2
                       SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                                (See Guidelines ~ C.8. for project category information.)

                                                     ~AT~C~ORY                      ~Nit?tJNi'
                                         Copies                                           $3,041.30
                                         Outside Printing
                                         Telephone                                               $3.25
                                         Facsimile
                                         Online Research                                     $85.70
                                         Delivery Services/Couriers                         $1$9.51
                                         Postage                                             $13.70
                                         Local Travel
                                         Out-of-Town Travel:
                                         (a) Transportation
                                         (b) Hotel
                                         (c) Meals
                                         (d) Ground Transportation
                                  Delete Legaf Research                                     ~a563.55
                                  DeCete Travel Expense                                      $11.08
                                   Add   Click Add button to add an out of town travel category
                                         Meals (local)
                                         Court Fees                                         $176.00
                                         Subpoena Fees
                                         Witness Fees
                                         Deposition Transcripts
                                         Trial Transcripts
                                         Trial Exhibits
                                         Litigation Support Vendors
                                         Experts
                                         Investigators
                                         Arbitrators/Mediators
                                  Ue[ete Other (please specify)
                                   Add   Click Add button to add another category


Case Name:                 Quiksilver, Inc.
Case Number:               '15-11X80(BLS)
Applicants Name:           Pachulski Stang Ziehl &Jones LLP
Date of Application        02/19/2016
Interim or Final:          f nterim

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